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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION


DEBORAH LAUFER, Individually,      )
                                   )
        Plaintiff,                 )
                                   )
vs.                                )                       Case No. 1:20-cv-05434-MSS
                                   )
ESA P PORTFOLIO, LLC, d/b/a        )
EXTENDED STAY AMERICA –            )
ROLLING MEADOWS, A Foreign Limited )
Liability Company,                 )
                                   )
        Defendant.


             MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                DEFENDANT’S MOTION TO DISMISS THE COMPLAINT

I.         INTRODUCTION

           Defendant ESA P Portfolio, L.L.C. d/b/a EXTENDED STAY AMERICA – ROLLING

MEADOWS ("Defendant") owns and/or operates Extended Stay America hotels nationwide.

Plaintiff Deborah Laufer ("Plaintiff") initiated this case against Defendant as one of over 4001

nearly identical ADA lawsuits filed in Illinois, Maryland, New York and elsewhere. Courts

have taken notice of Plaintiff filing these identical cases despite lacking subject matter

jurisdiction and standing. Pertinent to this matter, Plaintiff is a resident of Florida and never

alleges that she visited the state of Illinois, the hotel in question or has any intent to do so. Thus,

Plaintiff lacks the requisite concrete harm or risk of immediate future harm necessary to establish

standing.

           To satisfy federal pleading requirements, Plaintiff must sufficiently allege facts which, if

proven true, state a claim upon which relief can be granted. Fed. R. Civ.P. 12(b)(6). Plaintiff has

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    See Request for Judicial Notice ISO MTD, Exhibit 1.

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not done so. Accordingly, the Court should grant Defendant’s Motion to Dismiss the Complaint

pursuant to Federal Rule of Civil Procedure 12(b)(6).

II.      BACKGROUND

         On August 5, 2020, Plaintiff filed the instant Complaint against Defendant seeking

injunctive relief and attorneys’ fees for alleged violations of the Americans with Disabilities Act

(“ADA”). Plaintiff is a resident of Pasco County, Florida. Complaint at ¶ 1. Plaintiff alleges

that she uses an assistive device (such as a cane) to walk and decided to be a “tester” for

purposes of ADA compliance. Complaint at ¶ 2. Plaintiff further alleges that she visited certain

third party websites (not websites that Defendant owns or controls), such as expedia.com and

hotels.com, “for the purpose of reviewing and assessing the accessible features at the Property

and ascertain whether they meet the requirements of 28 C.F.R. Section 36.302(e).” Complaint at

¶ 10. Plaintiff found that such third party websites were lacking accessible information about the

property in question located at 2400 Gold Road, Rolling Meadows, Illinois 60008 (the “Subject

Property”). Complaint at ¶ 3, 10. Plaintiff, therefore, seeks attorneys’ fees, costs and injunctive

relief. Complaint at ¶ 19-20. Critically, Plaintiff never alleged in the Complaint that she

visited the state of Illinois, the town of Rolling Meadows, the Subject Property or that she

has any plans or intentions of visiting the Subject Property in Illinois. Furthermore, the

Complaint does not allege that Plaintiff has any reason to travel anywhere in Illinois or any

reason to seek lodging anywhere in or around Rolling Meadows.

III.     LEGAL ARGUMENT

         A.     Courts Must Sua Sponte Assess Standing For Subject Matter Jurisdiction

         “Article III of the Constitution limits the jurisdiction of the federal courts to actual cases

or controversies.” UAW v. Johnson, 674 F.2d 1195, 1198 (7th Cir. 1982). Accordingly, it is well-



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settled that the party asserting federal jurisdiction must "carry the burden of establishing

standing” as the proper party under Article III.          Hinrichs v. Speaker of the House of

Representatives, 506 F.3d 584, 590 (7th Cir. 2007); see also Scanlan v. Eisenberg, 669 F.3d 838,

841 (7th Cir. 2012) (“Plaintiffs—as the party invoking federal jurisdiction—bear the burden to

establish standing.”).

         Moreover, “it has been the virtually universally accepted practice of the federal courts to

permit any party to challenge or, indeed, to raise sua sponte the subject-matter jurisdiction of the

court at any time and at any stage of the proceedings." Craig v. Ont. Corp., 543 F.3d 872, 875

(7th Cir. 2008) (internal citations omitted). Indeed, “the court itself ha[s] a duty to ascertain the

propriety of its jurisdiction” and “[i]f a federal court doubts its jurisdiction, it should address its

concerns sua sponte.” Mader v. Motorola, Inc.,1999 U.S. App. LEXIS 7283, at *5 (7th Cir.

Apr. 9, 1999); see also Wellness Int'l Network, Ltd. v. Sharif, 727 F.3d 751, 768 (7th Cir. 2013)

(“[I]t is true that questions of subject-matter jurisdiction may be raised at any time, as parties

cannot consent to subject-matter jurisdiction; indeed, such questions must be considered by a

court sua sponte.”).

Standing Requires Concrete Harm Among Other Elements

         To establish standing a plaintiff must demonstrate (1) an “injury in fact” that is “concrete

and particularized” and “actual or imminent, not conjectural or hypothetical,” (2) “a causal

connection between the injury and the conduct complaint of,” and (3) redressability of the injury

by a favorable decision. Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–65 (1992). Where “a case

is at the pleading stage, the plaintiff must ‘clearly . . . allege facts demonstrating’ each element.”

Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016) (quoting Warth v. Seldin, 422 U.S. 490, 518

(1975)).



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         “For an injury to be ‘particularized,’ it ‘must affect the plaintiff in a personal and

individual way.’” Spokeo, 136 S. Ct. at 1548 (quoting Lujan, 504 U.S. at 560 n.1). To be

“concrete” an injury “must actually exist”: the injury must be “real” and not “abstract.”

Id. Generally, “even in the context of a statutory violation,” “a bare procedural violation,

divorced from any concrete harm,” does not satisfy the injury-in-fact requirement of

Article III. Id. at 1549–50 (emphasis added - holding that the plaintiff could not satisfy the

demands of Article III by simply alleging that consumer reporting agency disseminated

information in violation of the Fair Credit Reporting Act of 1970: “[a] violation of” a

“procedural requirement[] may result in no harm” and not all “inaccuracies cause harm or

present any material risk of harm”). A “risk of real harm” may “satisfy the requirement of

concreteness.” Id. at 1549 (noting statutes where the violation of a procedural right would be

sufficient because Congress identified harms sufficient to constitute injury in fact). Thus, “the

critical question for standing purposes is whether the alleged violations “entail a degree of risk

sufficient to meet the concreteness requirement.’” Crabtree v. Experian Info. Sols., Inc., 948

F.3d 872, 877 (7th Cir. 2020) (quoting Spokeo, 136 S. Ct. at 1550).

         B.     Injunctive Relief Requires Risk Of Immediate Injury

         To have standing to seek injunctive relief Plaintiff “must show that [she is] under an

actual or imminent threat of suffering a concrete and particularized injury in fact; that this injury

is fairly traceable to the defendant's conduct; and that it is likely that a favorable judicial decision

will prevent or redress the injury.” Common Cause Ind. v. Lawson, 937 F.3d 944, 949 (7th Cir.

2019) (quoting Summers v. Earth Island Inst., 129 S. Ct. 1142 (2009); see also United Asset

Coverage, Inc. v. Avaya Inc., 409 F. Supp. 2d 1008, 1041 (N.D. Ill. 2006) (“[A] plaintiff's




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entitlement to preliminary injunctive relief requires it, in addition to showing that its harm is

irreparable, to show that the harm is imminent as well.”).

         C.     Plaintiff Here Lacks Standing Because There Is No Concrete Harm

         Plaintiff is a resident of Florida. Complaint at ¶ 1. Defendant owns the Subject Property

in Rolling Meadows, Illinois. Complaint at ¶ 3. There are no facts in the Complaint indicating

that Plaintiff has ever traveled to Rolling Meadows, Illinois, or anywhere else in Illinois, or has

any plans to do so in the future.

         Plaintiff alleges that she is a “tester” for the ADA. Complaint at ¶ 2. However, her status

as a “tester” is not sufficient to establish subject matter jurisdiction in this action. See Griffin v.

Dep’t of Labor Fed. Credit Union, 912 F.3d 649, 656 (4th Cir. 2019) (holding that a plaintiff

who was ineligible to be a member of a credit union failed to establish standing to bring an ADA

claim concerning its website because tester status “cannot create standing in the absence of an

otherwise plausible assertion that a return to the website would allow [the plaintiff] to avail

himself of its services”); see also Carello v. Aurora Policemen Credit Union, 930 F.3d 830, 833

(7th Cir. 2019) (“[W]hile tester status does not defeat standing, it does not automatically confer it

either. A tester must still satisfy the elements of standing, including the injury-in-fact

requirement.”) (internal citations omitted).

         Multiple courts have taken notice of these types of spam style ADA lawsuits without the

requisite standing. Such courts have dismissed nearly identical cases or filed orders to show

cause sua sponte regarding whether standing and subject matter jurisdiction exist. For example,

the court in Laufer v. Laxmi & Sons, LLC, 1:19-cv-01501-BKS-ML, 2020 U.S. Dist. LEXIS

79545 (N.D.N.Y. May 6, 2020), involving the same Plaintiff as the case at hand (Laufer), issued

a sua sponte Memorandum-Decision and Order regarding Plaintiff’s lack of standing, stating



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“There are no facts in the Complaint or Plaintiff’s affidavit indicating that she has ever traveled

to Rensselaer, New York, or anywhere in New York, or that she has any reason to travel

anywhere in New York or any reason to seek lodging anywhere in New York.” Id. Doc #15 at

p. 7. The court went on to say “the Court questions whether the Plaintiff has established

standing, in accord with Spokeo, Kreisler, and Deeper Life Christian Fellowship, Inc, and thus

whether the Court has subject matter jurisdiction over this action.” Id. Doc #15 at p. 9.

         Other courts have taken notice of Plaintiff’s abuse of litigation as well. For example, in

Laufer v. 1110 Western Albany, LLC, Case No. 1:19-cv-01324-BKS-ML, 2020 U.S. Dist. LEXIS

81128 (N.D.N.Y. May 7, 2020), the court issued an Order on May 7, 2020 noting that “Plaintiff

Deborah Laufer, a Florida resident … has 29, nearly identical, cases pending against different

defendants in the Northern District of New York.” Id. Doc # 21 at p. 1. The court went on to

find that, “[t]here appears to be a serious question as to whether Plaintiff has established

standing, in this, or any of her other cases, and thus whether the Court has subject matter

jurisdiction over these actions.” Id. Doc # 21 at p. 2 (emphasis added). The court then ordered

that Plaintiff to file briefs addressing whether she has standing in that case and 27 other cases

filed by Plaintiff Laufer listed in the court’s Exhibit A attached to the Order. Id. Doc # 21 at p.

2. Subsequent to that, the case was dismissed due to settlement. Id. Doc # 22, 23. Here too, the

Court should question Plaintiff’s standing, which in fact does not exist.

         In New Jersey, The Hon. Renee Marie Bumb issued an Order to Show Cause in 3 very

similar cases which were also brought by a serial ADA plaintiff who, while residing in Florida

alleged violations on defendant’s website reservations system. Hernandez v. Caesars License

Co., LLC, Case No. 1:19-cv-06087-RMB-KMW (USDC DNJ), Doc # 4; Hernandez v. Caesars

License Co., LLC, Case No. 1:19-cv-06088-RMB-KMW (USDC DNJ), Doc # 4; Hernandez v.



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Montego Bay Resort and Conference Center, Case No. 1:19-cv-06091-RMB-AMD (USDC

DNJ), Doc # 4. See Request for Judicial Notice ISO MTD, Exhibit 2. The Court’s Order could

easily be applied to this case by changing little more than the pronouns involved:

                         An examination of the facts alleged in the complaints leads
                 this Court to question whether Plaintiff has established that he
                 has suffered an injury in fact. Plaintiff alleges that he “visited the
                 Property’s website for the purpose of reviewing an assessing the
                 accessible features at the Property in order to ascertain whether it
                 meets Plaintiff’s individual disability needs[.]” (Complaints ¶ 30)
                 The complaints do not plead how many times Plaintiff visited each
                 website. Moreover, while Plaintiff pleads a laundry list of
                 “disability accommodations” he was “unable to verify” “whether
                 the Property contain[ed],“ (Complaints ¶ 31), the complaints do
                 not even plead that Plaintiff, who “resides in Miami, Florida,”
                 (Complaints, ¶ 1) has any intention of visiting New Jersey,
                 much less the specific properties identified in the complaints.
                 Rather, Plaintiff merely pleads in conclusory fashion that “Plaintiff
                 intends to revisit Defendant’s or Defendant’s third-party agent’s
                 website and/or online reservation system in order to test it for
                 compliance with 28 C.F.R. § 36.302(e)2 and/or otherwise
                 determine if the site provides enough information for Plaintiff to
                 determine whether the site comes into compliance with the
                 guidelines of the aforementioned law.” (Complaints ¶ 39)

                        Thus, it does not appear that Plaintiff has pled an
                 injury in fact. In this regard, the Court finds this case analogous to
                 Murray v. Lifetime Brands, Inc., No. CV 16-5016, 2017 WL
                 1837855 (D.N.J. May 8, 2017). In that case, as here, the plaintiff’s
                 claim was premised on an “‘unlawful denial of access to
                 information subject to disclosure.’” Id. at *3 (quoting In re:
                 Nickelodian Consumer Privacy Litig., 827 F.3d 262, 273-74 (3d
                 Cir. 2016)). In Murray, Judge Hillman held that the plaintiff had
                 not established an injury in fact, explaining, “[c]ritically, what
                 Murray fails to do, however, is identify the harm that resulted from
                 allegedly not knowing what she asserts the [law] requires
                 [defendant] to tell her.” Id. at *4,


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  The Court notes that 28 C.F.R. § 36.302(e) (1), which Plaintiff cites in his complaints, does not impose a specific
duty on places of public accommodation to include descriptions of disability accommodations on their websites. The
regulation merely requires that a place of public accommodation “[i]dentify and describe accessible features . . . in
enough detail to permit individuals with disabilities to assess independently whether a given hotel or guest room
meets his or her accessibility needs.” 28 C.F.R. § 36.302(e) (1) (ii). The regulation is silent as to where or how a
place of public accommodation must identify and describe its accessible features, and Plaintiff’s complaints are
silent in this regard.

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                        In this case, too, Plaintiff fails to plead what actual,
                concrete harm he suffered, or will continue to suffer, as a result
                of allegedly being unable to determine whether each property has
                disability accommodations that meet his needs.

Hernandez v. Caesars License Co., LLC, Case No. 1:19-cv-06087-RMB-KMW (USDC DNJ),

Doc # 4 at p. 4-5 (emphasis added). The court then ordered that plaintiff show cause “why this

case should not be dismissed for lack of Article III standing.” Id. at p. 6. The defendant

subsequently filed a motion to dismiss, and the court issued an Order granting defendant’s

motion to dismiss for lack of subject matter jurisdiction. Hernandez v. Caesars License Co.,

LLC, Case No. 1:19-cv-06087-RMB-KMW (USDC DNJ), Doc # 25. The same thing occurred

in the second case, Hernandez v. Caesars License Co., LLC, Case No. 1:19-cv-06088-RMB-

KMW (USDC DNJ), Doc # 24. In the third case, plaintiff filed a notice of voluntary dismissal,

presumably acknowledging the lack of standing and jurisdiction. Hernandez v. Montego Bay

Resort and Conference Center, Case No. 1:19-cv-06091-RMB-AMD (USDC DNJ), Doc # 5.

Here too, the case lacks subject matter jurisdiction and the Complaint should properly be

dismissed.

         Here in the Seventh Circuit, courts have similarly taken issue with ADA cases lacking

standing and jurisdiction. For example, in Abreu v. Harold's Chicken Shack #60, LLC, No. 2:16-

CV-243-JD, Doc # 26 (N.D. Ind. Mar. 28, 2018), the plaintiff was a “resident of Palm Beach

County, Florida” and visited the defendant’s restaurant in Indiana on March 24, 2016. However,

because the plaintiff was a Florida resident with no clear intention to return to the property in

Indiana, the court raised the issue of standing and held that in the Seventh Circuit, courts have

strict standing requirements for Title III ADA cases:

                However, the Seventh Circuit has made it clear that in order for the
                Court to have jurisdiction over this claim, Abreu must have
                standing to bring it. Scherr v. Marriott Int'l, Inc., 703 F.3d 1069 ,


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                1073 (7th Cir. 2013) (addressing a claim under Title III of the
                ADA; "Standing to bring and maintain a suit is an essential
                component of this case-or- controversy requirement.

Id. at p. 2. See Request for Judicial Notice ISO MTD, Exhibit 3. The court in Abreu went on to

find that, given the facts, it could not establish standing, particularly because of Abreu’s lack of a

credible intent to return to the restaurant:

                However, the record is devoid of any evidence that would allow
                a reasonable inference that based on Abreu's single visit to
                Harold's, during a random trip from his residence in Florida,
                he intends to return to Harold's. While Abreu generally asserted
                in his complaint that he intends to return to Harold's at some
                unknown point in the future as a customer and ADA tester,
                Harold's denies this point. Moreover, at no point does Abreu claim
                that he would visit Harold's but for the alleged ADA violations,
                and he does not even show an intent to return to the geographic
                area of Merrillville, Indiana (where Harold's is located), except to
                con rm ADA compliance. Accordingly, on the record before it, the
                Court is unable to reasonably infer, based on the non-existence of
                other past visits to the restaurant, Harold's living on the other side
                of the country, and his unspecified vague assertion that he'll
                likely return at some point in the future, that Abreu has
                established standing to pursue his claim for injunctive relief
                against Harold's.

Id. at p. 3 (emphasis added). The court, thus, struck both parties’ motions for summary judgment

and ruled that if plaintiff fails “to establish standing sufficient to secure this Court's jurisdiction,

then the case will be subject to immediate dismissal.” Id. at p. 4.

         Here too, Plaintiff lacks a genuine intent to return to the property. Indeed, Plaintiff lacks

even an “unspecified vague assertion that [s]he'll likely return at some point in the future,” which

would not suffice. Thus, Plaintiff lacks the requisite standing for the Court to have jurisdiction.

IV.      CONCLUSION

         Plaintiff lacks standing in this case, and it is respectfully submitted that the Court

accordingly lacks subject matter jurisdiction. This issue has been thoroughly explored by other



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courts, including in dozens of cases involving this very Plaintiff, resulting in orders and

dismissals for lack of jurisdiction. Thus, Defendant respectfully requests that the Court dismiss

Plaintiff’s Complaint with prejudice for lack of subject matter jurisdiction as well.

Dated: October 7, 2020                       Respectfully submitted,

                                             ESA P PORTFOLIO, L.L.C. D/B/A EXTENDED
                                             STAY AMERICA – ROLLING MEADOWS

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                                  CERTIFICATE OF SERVICE

          The undersigned hereby declares that on this 7th day of October, 2020, a true and accurate

copy of the foregoing was served via the court’s Electronic Case Filing system on all counsel of

record.


                                                      /s/   Sonya Rosenberg
                                                      Sonya Rosenberg




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